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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                        Western District
                                                       __________        of of
                                                                  District  Oklahoma
                                                                               __________
                  KLX Energy Services LLC                                     )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. CIV-20-1129-F
                  Magnesium Machine, LLC                                      )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                                             Frontier Oil Tools LLC
                                                        6230 Bingle Road, Houston, TX 77092
                                                       (Name of person to whom this subpoena is directed)

    ✔
    u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
            See Subpoena Duces Tecum, which is attached as Exhibit A and incorporated herein by reference.


 Place: Shearman & Sterling LLP, c/o David Whittlesey                                   Date and Time:
           Bank of America Tower, 800 Capitol Street, Suite 2200                                             10/14/2021 5:00 pm
           Houston, TX 77002

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:         09/30/2021

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                 /s/ David P. Whittlesey
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
KLX Energy Services LLC                                                 , who issues or requests this subpoena, are:
David P. Whittlesey, Shearman & Sterling LLP, 300 West 6th St. Suite 2250, Austin, Texas 78701
david.whittlesey@shearman.com
                                Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom
it is directed. Fed. R. Civ. P. 45(a)(4).
                                                                                                                                             Exhibit 1
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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF OKLAHOMA

 KLX ENERGY SERVICES LLC

                       Plaintiff,
                                                       Case No. 5:20-cv-01129-F
                v.

 MAGNESIUM MACHINE, LLC

                       Defendant.


                       EXHIBIT A TO SUBPOENA DUCES TECUM

                           DEFINITIONS AND INSTRUCTIONS

       1.      This Subpoena and the categories of documents set forth below apply to any and

all documents, communications, or things in your possession, custody, or control, or subject to

your custody or control. This includes communications and documents from any personal email

or storage accounts, text messages, instant messages, as well as any employment-related email

accounts.

       2.      All documents, communications, and things shall be produced in the manner

in which they are maintained in the usual course of business. A request for a document

includes a request for any and all file folders or binders within which the document was

contained, transmittal sheets, cover letters, exhibits, enclosures, or attachments to the document

in addition to the document itself. The integrity and internal sequence of the requested

documents within each folder shall not be disturbed or commingled with the contents of

another folder. All documents should be stored, clipped, stapled, or otherwise arranged in the

same form and manner as they were found.




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       3.      If an objection is made to a portion of any of a category set forth below, you shall

furnish documents, communications, and things responsive to the remainder of that category. In

addition, if there are no documents, communications, or things responsive to a particular category,

state so in your response to that category.

       4.      The term “communications” means any transmission or exchange of information

either orally or in writing, and includes any conversation, letter, note, memorandum, electronic

mail, text message, instant message, social media post, inter-office or intra-office correspondence,

telephone call, telegraph, telecopy, telefax, cable, conference, tape recording, discussion, or face-

to-face meeting.

       5.      “Document(s)” has the full meaning ascribed to it in Rule 34 of the Federal Rules

and includes “electronically stored information” (“ESP”) as also defined in Rule 34. Examples

of documents include, without limitation, all writings in any form, call logs, calendars,

correspondence, address books, date books, diaries, letters, facsimiles, manuals, memoranda,

notes (including handwritten notes), reports, records, drawings, graphs, charts, photographs,

PowerPoint slides, sound recordings, images, video recordings, telephone records, electronic mail.

messages, instant messages, text messages, spreadsheets, databases, all other forms of electronic

communication, and other data or data compilations of any nature whatsoever stored in any

medium.

       6.      The term “person” means any individual, entity, or association of individuals or

entities of any kind, and includes partnerships, limited partnerships, corporations, joint ventures,

joint enterprises, trade associations, regulatory bodies, government agencies, or government

entities of any kind.




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          7.      “Action” means the above-captioned lawsuit, KLX Energy Services LLC v.

Magnesium Machine, LLC, Case No. 5:20-cv-01129-F, which is currently pending in the United

States District Court for the Western District of Oklahoma.

          8.      “Magnesium Machine” means and refers to Magnesium Machine, LLC and each

of its parents, subsidiaries, predecessors, affiliates, officers, directors, representatives, employees,

contractors, and authorized agents. This includes, but is not limited to, Magnesium Machine

Parts, LLC and Cornerstone Tools, LLC

          9.      “KLX” means KLX Energy Services LLC and each of its parents, subsidiaries,

and predecessors, officers, directors, representatives, employees, contractors, and authorized

agents.

          10.     Unless otherwise specified, “you” or “Frontier” means and refers to Frontier Oil

Tools, LLC, and each of its affiliates, parents, subsidiaries, and predecessors, officers, directors,

representatives, employees, contractors, and authorized agents.

          11.     Unless otherwise specified, this Subpoena seeks documents from January 1, 2017

through the present.


                                     Documents to be Produced

1.        All communications with Magnesium Machine, or any of its affiliates, representatives,
          agents, or employees, including by not limited to, Loren Swor or Brian Wilkinson
          concerning or related to dissolvable frac plugs or dissolvable frac plug parts.

2.        All documents and communications concerning or relating to Magnesium Machine or the
          sale, design, testing, or manufacture of dissolvable frac plugs by Magnesium Machine.

3.        Any and all agreements with Magnesium Machine.

4.        All marketing materials used by you in connection with the sale of any dissolvable frac
          plug manufactured or sold to you by Magnesium Machine.




                                                   3
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5.    For any dissolvable frac plug you purchased from Magnesium Machine, documents
      sufficient to identity the date of the purchase, the design and/or of the plug purchased,
      and the price paid.

6.    Invoices for all dissolvable frac plugs purchased by you from Magnesium Machine.

7.    All documents and communications concerning or relating to your decision to purchase
      dissolvable frac plugs from Magnesium Machine.

8.    All marketing materials used by you in connection with the sale of any dissolvable frac
      plug manufactured or sold to you by Magnesium Machine

9.    For any dissolvable frac plug you purchased from Magnesium Machine and sold to
      another person or entity, documents sufficient to describe the details of each such sale,
      which should include, but should not be limited to, the date of the sale, the name of the
      customer, the description of the product, and the price.

10.   All communications with, concerning, or relating to any customer of KLX related to the
      sale of dissolvable frac plugs.

11.   All documents and communications concerning KLX or the dissolvable frac plugs sold
      by KLX.

12.   All documents and communications concerning or relating to the facts at issue in this
      Action.




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